          Case 19-03800-5-SWH                      Doc 3 Filed 08/19/19 Entered 08/19/19 16:17:28                                    Page 1 of 1

Fill in this information to identify your case:
Debtor 1               Hadi Rebhi Hamam
                       First Name                    Middle Name                  Last Name
Debtor 2
(Spouse if, filing)    First Name                    Middle Name                  Last Name

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                           Check if this an
                                                                                                                                     amended filing

Official Form 103A
Application for Individuals to Pay the Filing Fee in Installments                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

Part 1:       Specify Your Proposed Payment Timetable

1.    Which chapter of the Bankruptcy Code are                        Chapter 7
      you choosing to file under?
                                                                     Chapter 11
                                                                     Chapter 12
                                                                     Chapter 13
2.    You may apply to pay the filing fee in up to            You propose to pay...
      four installments. Fill in the amounts you
      propose to pay and the dates you plan to
      pay them. Be sure all dates are business
      days. Then add the payments you propose                                               With the filing of the petition
      to pay.                                                          150.00
                                                              $                             On or before this date.........
                                                                                                                               MM    / DD/ YYYY
      You must propose to pay the entire fee no
      later than 120 days after you file this                 $        185.00           On or before this date...........      10/16/19
      bankruptcy case. If the court approves your                                                                              MM    / DD/ YYYY
      application, the court will set your final              $                         On or before this date...........
      payment timetable.                                                                                                       MM    / DD/ YYYY
                                                          +   $                         On or before this date...........
                                                                                                                               MM    / DD/ YYYY


                                                              $      335.00
                                                  Total                            Your total must equal the entire fee for the chapter you checked in line 1.

Part 2:       Sign Below

By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments, and that you
understand that:

     •        You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney, bankruptcy petition
              preparer, or anyone else for services in connection with your bankruptcy case.
              You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your deadline. Your
     •        debts will not be discharged until your entire fee is paid.
              If you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other bankruptcy proceedings
     •        may be affected.

X    /s/ Hadi Rebhi Hamam                            X                                             X    /s/ Richard P. Cook
     Hadi Rebhi Hamam                                                                                   Richard P. Cook 37614
     Signature of Debtor 1                                Signature of Debtor 2                         Your attorney’s name and signature, if you used one


     Date     August 19, 2019                             Date                                          Date    August 19, 2019
              MM / DD / YYYY                                      MM / DD / YYYY                                MM/ DD / YYYY




B 103A (Official Form 103A)                Application for Individuals to Pay the Filing Fee in Installments
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